 

CaSe: lilS-CV-OOBZB-DCN DOC #Z 5 Filed: 08/21/18 l Of 8. Page|D #Z 39

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

 

EASTERN DIVISION
CARL W. WHITMORE, ) CASE NO. 1:18 CV 525
)
Plaintiff, )
)
v. ) JUDGE DONALD C. NUGENT
' )
LORAIN POLICE DEPARTMENT, et. al., )
) MEMORANDUM OPINION
Defendants. ) AND ORDER
I. Introduction

Pro Se Plaintiff Carl W. Whitmore (“Whitmore” or “Plaintiff”) filed a complaint (Docket
#1), and then an amended complaint (the “Complaint”) (Docket #3) pursuant to 42 U.S.C. § 1983
against nine defendants in connection with their alleged seizure and failure to return a Ruger
9mm pistol (model P89), sixteen rounds of ammunition, and two magazines (collectively
“property”) (Docket #3 at 3-4, 11 15, 21). The nine defendants are the City of Lorain, Lorain
Police Departmen’c,l Chief of Police Cel Rivera, Mayor Chase Ritenaur, Off`lcer Lacock, Sergeant
Brown, Offlcer Torres, Officer Grauprnan, and Patrolman E. Gonzalez (collectively

“Defendants”). Plaintiff claims that Mayor Ritenaur is “in charge” of the Lorain Police

 

l Defendant Lorain Police Department is not sui juris and is dismissed from this action. See Lawson v. Cizjy
of Youngstown, 912 F. Supp. 2d 527, 531 (N.D. Ohio 2012) (collecting cases).

 

 

CaSe: lilS-CV-OOBZB-DCN DOC #Z 5 Filed: 08/21/18 2 Of 8. Page|D #Z 40

Department, Chief Rivera is responsible for “formulating, executing and administering within the
City of Lorain the laws, customs, practices, and policies at issue in this lawsuit[,]” and Officers
Lacock, Brown, Torres, Graupman, and Gonzalez are or were employed by Lorain Police
Department at all relevant times (z`d. at 2, 11 3-5).

Plaintiff alleges that on December 3, 2008, “Lorain police officers” and Life Care
Ambulance arrived at Plaintiff s residence in response to a call from his brother who was
concerned that Plaintiff might harm himself (id. at 3, 11 12). Plaintiff was transported to Lorain
Community Health Partners Hospital for an evaluation (z'a’. 11 14).

After he was released from the Hospital, Plaintiff returned home and learned that his
property had been taken from his horne by “the police officers” without his knowledge or consent
(id. ‘|I 15). Plaintiff alleges that he repeatedly requested the return of his property without success
and, within the past 18 months, was informed that his property had been destroyed (z`d. at 4, 11
147-19).

On these facts, Plaintiff claims that the customs, practices, and polices of “Defendants”2
deprived him of his property without due process of law and denied him equal protection of the
law, all in violation of his rights under the Second and Fourteenth Amendments of the United
States Constitution and certain articles of the Ohio Constitution (ia'. at 5-6, 11 26-34). Plaintiff

seeks declaratory and injunctive relief, and the return of his property (id. at 6-7).

 

2 Plaintiff alternately refers to “Defendant” and “Defendants” throughout the Cornplaint.

_2_

 

 

CaSe: lilS-CV-OO525-DCN DOC #Z 5 Filed: 08/21/18 3 Of 8. Page|D #Z 41

II. Standard of Review

Although pro se pleadings are liberally construed, Boag v. MacDougall, 454 U.S. 364,
365 (1982), federal district courts are expressly required under 28 U.S.C. § 1915(e)(2)(B) to
screen all in forma pauperis actions and to dismiss before service any such action that the Court
determines is frivolous or malicious, fails to state a claim upon which relief may be granted, or
seeks monetary relief from a defendant who is immune from such relief. In order to survive
scrutiny under § 1915(e)(2)(B), a pro se complaint must set forth sufficient factual matter,
accepted as true, to state claim for relief that is plausible on its face. See Hz`ll v. Lappin, 630 F.3d
468, 471 (6th Cir. 2010) (holding that the Fed. R. Civ. P. 12(b)(6) dismissal standard articulated
in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Al‘lantl'c Corp. v. Twombly, 550 U.S. 544
(2007) governs dismissals under 28 U.S.C. § 1915(e)(2)(B)). The factual allegations in the
pleading “must be enough to raise a right to relief above the speculative level on the
assumption that all the allegations in the complaint are true[.]” Twombly, 550 U.S. at 555
(citations omitted).

There are nine attachments to the Complaint..3 “A copy of a written instrument that is an
exhibit to a pleading is part of the pleading for all purposes.” Fed. R. Civ. P. 10(c). T_he Court
will, therefore, consider those attachments when assessing the sufficiency of Plaintiff’s claims.
Campbell v. Nationstar Mortg., 611 F. App’x 288, 292 (6th Cir. 2015) (“The federal rules treat

[exhibits attached to the complaint] as part of the pleadings.”).

 

3 Plaintiff’s civil cover sheet indicates that the instant action is related to case number 2008CRB0408 in
Lorain Municipal Court (Docket #3-1 at 1). The docket for that criminal case (among other documents) is
attached to the Complaint and indicates that on November 1, 2008, Whitmore was charged with disorderly
conduct and obstructing official business (see Docket #3-2 at 1-5).

_3_

 

 

CaSe: lilS-CV-OO525-DCN DOC #Z 5 Filed: 08/21/18 4 Of 8. Page|D #Z 42

III. Discussion

A. 42 U.S.C. § 1983

“Section 1983 provides a cause of action for ‘the deprivation of any rights, privileges, or
immunities secured by the Constitution and laws’ by any person acting ‘under' color of any
statute, ordinance, regulation, custom, or usage, or any State or Territory.”’ Gomez v. Tolea’o, 446
U.S. 635, 638 (1980) (quoting 42 U.S.C. § 1983). Section 1983 actions may be brought against
state actors in their individual or official capacities The Complaint does not indicate whether
Chief Rivera, Mayor Ritenaur, Officer Lacock, Sergeant Brown, Officer Torres, Officer
Graupman, or Patrolman Gonzalez are sued in their individual or official capacities.

l. Plaintij]"fails to state a claim against defendants in their individual capacities

A “critical aspect” of a § 1983 claim is that in order for a defendant to be held liable,
Plaintiff must demonstrate “‘that each Government-official defendant, through the official’s own
individual actions, has violated the Constitution.”’ Robertson v. Lucas, 753 F.3d 606, 615 (6th
Cir. 2014) (quoting Iqbal, 556 U.S. at 676). That is, Plaintiff must show that the alleged violation
of his constitutional rights was committed personally by a named defendant Id. (emphasis in
original); Heyerman v. Cty. of Calhoun, 680 F.3d 642, 647 (6th Cir. 2012) (persons sued in their
individual capacities under § 1983 are liable only for their own unconstitutional behavior)
(citations omitted).

Here, Plaintiff’ s allegations generically refer to “Defendant” or “Defendants.” Even
liberally construing the Complaint, Plaintiff’s § 1983 claims against Chief Rivera, Mayor
Ritenaur, Officer Lacock, Sergeant Brown, Officer Torres, Officer Graupman, or Patrolman

Gonzalez are subject to dismissal because he does not specifically allege that any of them were

 

 

CaSe: 1:18-CV-OO525-DCN DOC #Z 5 Filed: 08/21/18 5 Of 8. Page|D #Z 43

personally involved in and/or responsible for the alleged constitutional violations. Accordingly,
Plaintiff fails to state a plausible § 1983 claim upon which relief can be granted against these
defendants in their individual capacities See Frazier v. Michigan, F. App’x 762, 764 (6th Cir.
2002) (affirming dismissal of § 1983 claim under 28 U.S.C. §§ l915(e) and 1915(A) and 42
U.S.C. § l915e(c) for failure to state a claim against defendants in their individual capacity where
plaintiff does not allege which of the named defendants were personally responsible for each
claimed rights violation).
2. Plaintiff fails to state a claim against defendants in their official capacities

To the extent that Plaintiff alleges that Chief Rivera, l\/Iayor Ritenaur, Officer Lacock,
Sergeant Brown, Officer Torres, Officer Graupman, or Patrolman Gonzalez violated his
Constitutional rights in their official capacities, his claims against them are equivalent to his
claims against the City of Lorain. See Dotson v. Wz`lkz'nson, 477 F. Supp. 2d 83 8, 852 (N.D. Ohio
2007) (“Courts have long recognized that suits against state officials in their official capacity are
treated as suits against the state.”) (citing Hafer v. Melo, 502 U.S. 21, 25 (1991) and Monell v.
Dep ’t ofSoc. Servs., 436 U.S. 658, 690 n. 55 (1`978) (“Official-capacity suits generally represent
only another way of pleading an action against an entity of which an officer is an agent.”)). To
state a § 1983 claim against the City of Lorain, Plaintiff must allege that the claimed violation of
his constitutional rights was caused by an unconstitutional policy, ordinance, regulation or
decision officially adopted and promulgated by the City. Monell, 436 U.S. at 690; Hafer, 502
U.S. at 25 (1991) (citing Kentucky v. Graham, 473 U.S. 159, 166 (1985)).

Plaintiff claims that violations of his constitutional rights resulted from “Defendants”

customs, practices, and policies. But beyond this conclusory statement, Plaintiff alleges no facts

 

 

CaSe: 1:18-CV-OO525-DCN DOC #Z 5 Filed: 08/21/18 6 Of 8. Page|D #Z 44

that support such a conclusion, or from which the Court could infer the existence of any such
policy officially adopted and promulgated by the City of Lorain, or the role of such a policy in the
alleged constitutional violation. Although the Court is required to liberally construe the
Complaint and make reasonable inferences in Plaintiff’s favor, the Court is not required to accept
as true legal conclusions unsupported by well-pleaded facts or unwarranted factual inferences
See Grindstajj”v. Green, 133 F.3d 416, 421 (6th Cir. 1998) (citing Morgan v. Church ’s Fried
Chicken, 829 F.2d 10, 12 (6th Cir. 1987)) (further citation omitted). Nor is the Court required to
conjure unpleaded facts or construct claims against defendants on behalf of a pro se plaintiff See
Grinter v. Knight, 532 F.3d 567, 577 (6th Cir. 2008) (citation omitted); Beaudett v. City of
Hampton, 775 F.2d 1274, 1277-78 (4th Cir. 1985).

The bare legal conclusions in the Complaint do not provide a basis upon which the Court
may determine that Plaintiff has asserted a plausible official capacity § 1983 claim for relief.
Crawford v. Geiger, 996 F. Supp. 2d 603, 613 (N.D. Ohio 2014) (vague allegations of official
capacity liability based on policies, practices, and customs is insufficient to support the existence
of such a policy and state a § 1983 claim where no facts are alleged about a specific government
policy) (citing Center for Bio-Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 372-373 (6th
Cir. 2011) (“vague and conclusory allegations and arguments” are insufficient to support the
existence of a policy)); see also Barrett v. Wallace, 107 F. Supp. 2d 949, 955 (S.D. Ohio 2000)
(conclusory allegations of inadequate policies is insufficient to state a-§ 1983 failure to train
claim) (citations omitted). Accordingly, Plaintiff fails to state a plausible § 1983 claim against

the Defendants in. their official capacity upon Which relief can be granted.

 

 

CaSe: lilS-CV-OO525-DCN DOC #Z 5 Filed: 08/21/18 7 Of 8. Page|D #Z 45

B. State Law Claims

Plaintiff asserts that the Court has subject matter jurisdictions over his federal claims
pursuant to 28 U.S.C. § 1331, and pendent jurisdiction over his state law claims (Docket #3 at 2,
11 6). The Court has discretion to exercise jurisdiction over those supplemental claims pursuant to
28 U.S.C. § 1367(a), which provides that:

[I]n any civil action of which the district courts have original jurisdiction, the district

courts shall have supplemental jurisdiction over all other claims that are so related to

the claims in the action within such original jurisdiction that they form part of the

same case or controversy under Article III of the United States Constitution.

Here, the Court has original jurisdiction over Plaintiff’s § 1983 claim.4 The Court may,
nevertheless, decline to exercise supplemental jurisdiction over a state law claim pursuant to 28
U.S.C. § 1367(c) if:

(1) the claim raises a novel or complex issue of State law,

(2) the claim substantially predominates over the claim or claims over which the

district court has original jurisdiction, or

(3) the district court has dismissed all claims over which it has original jurisdiction,

or

(4) in exceptional circumstances, there are other compelling reasons for declining

jurisdiction

The determination of whether to accept or decline supplemental jurisdiction is left to the
sound discretion of the Court. See Musson Theatrical ]nc. v. Fea'. Express Corp., 89 F.3d 1244,
1254 (6th Cir. 1996). In exercising this discretion, the Court considers issues of judicial
economy, convenience, faimess, and comity. ld.

“[I]f the federal claims are dismissed before trial, the state claims should be dismissed

as well.” United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966); see also Musson

 

4 Based upon the Complaint, it appears that the Court lacks original diversity jurisdiction over Plaintiff’s
state law claims. See 28 U.S.C. § 1332.

_7_

 

 

CaSe: 1:18-CV-OO525-DCN DOC #Z 5 Filed: 08/21/18 8 Of 8. Page|D #Z 46

Theatrical, Inc., 89 F.3d at 254-55 (“When all federal claims are dismissed before trial, the
balance of considerations usually will point to dismissing the state law claims[.]”) (collecting
cases).

Here, the Court has dismissed Plaintiff’ s federal claims pursuant to § 1915(e)(2)(B).
Because all claims forming the basis of the Court’s original jurisdiction have been dismissed, the
Court, in its discretion, declines to exercise supplemental jurisdiction over Plaintiff"s state law
claims. Accordingly, Whitmore’s state law claims are dismissed without prejudice
III. Conclusion

Plaintiff"s Motion to proceed with this action in forma pauperis (Docket #4) is granted

F or all of the foregoing reasons, Plaintiff" s federal claims are dismissed pursuant to 28
U.S.C. § 1915(e)(2)(B) for failure to state a claim upon which relief can be granted. Plaintiffs
state law claims are dismissed without prejudice

The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an appeal from this decision

may not be taken in good faith. This case is hereby TERMINATED.

twath

DONALD C. NUGEN
United States District Judge

IT IS SO ORDERED.

DATED; AW 1{\ aug

 

